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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                    Case No: 1:12-cr-93

v.                                                          HON. JANET T. NEFF

MICHAEL MAGIK JONES,

              Defendant.
                                         /


               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed June 13, 2012 by the United

States Magistrate Judge in this action. The Report and Recommendation was duly served on the

parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and Recommendation of the Magistrate Judge (Dkt 26) is APPROVED and

ADOPTED as the opinion of the Court.

       2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charges

set forth in Counts Four, Seven, Ten and Eleven of the Indictment.

       3. The written plea agreement is hereby continued under advisement pending sentencing.




Dated: June 28, 2012                          /s/Janet T. Neff
                                             JANET T. NEFF
                                             UNITED STATES DISTRICT JUDGE
